 Case 2:23-cv-00444-JRG Document 3 Filed 09/27/23 Page 1 of 3 PageID #: 317




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


Valtrus Innovations Ltd.               §
                                       §
                                       §
                 Plaintiff             §
                                       §
       v.                              § CIVIL ACTION NO. 2:23cv444
                                       §
                                       §
T-Mobile USA, Inc.; T-Mobile US, Inc.; §    JURY TRIAL DEMANDED
Sprint Corp; OnePlus Technology        §
(Shenzen) Co., Ltd. and OnePlus Mobile
Communications (Guangdong) Co., Ltd.


                   Defendants.
                                       JURY DEMAND

        Pursuant to Local Rule CV-38(a), Plaintiffs respectfully demand a jury trial on all issues

so triable.

                                             Respectfully submitted,

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Case 2:23-cv-00444-JRG Document 3 Filed 09/27/23 Page 2 of 3 PageID #: 318




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 Case 2:23-cv-00444-JRG Document 3 Filed 09/27/23 Page 3 of 3 PageID #: 319




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who are

deemed to have consented to electronic service on this 27 day of September, 2023.



                                                   /s/ Claire Henry
                                                   Claire Henry
